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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )              CASE NO. 8:10CR193
                                             )
             Plaintiff,                      )
                                             )
             vs.                             )                    ORDER
                                             )
DEANDRE W. ROBINSON,                         )
                                             )
             Defendant.                      )

      This matter is before the Court on the Defendant’s pro se second motion for

reconsideration (Filing No. 128) of the Court’s decision denying him relief under the Fair

Sentencing Act of 2010 (“FSA”).

      The Defendant, Deandre W. Robinson, seeks relief under Dorsey v. United States,

132 S. Ct. 2321 (2012). In Dorsey, the Supreme Court determined that defendants whose

crimes preceded, but who were sentenced after, the effective date of the FSA on August

3, 2010, must receive the benefit of more lenient penalties under the FSA. Id. At 2331.

      Dorsey has no effect on Robinson’s case, although his conduct predated August 3,

2010, and he was sentenced after that date. The guidelines that took effect on November

1, 2010, incorporated the more lenient penalties authorized under the FSA. Those

guidelines were used in sentencing Robinson. He was held responsible for 24.4 grams of

cocaine base, and his base offense level was 24. Under the current guidelines, base level

24 applies to a drug quantity of at least 22.4 but less than 28 grams of crack cocaine.

Therefore, Robinson is not entitled to a further increase. Absent further changes in the

law, any further motions for a reduction in sentence submitted by Robinson either will be

returned or summarily denied.
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     IT IS ORDERED:

     1.    The Defendant’s second motion for reconsideration (Filing No. 128) is

           denied; and

     2.    The Clerk is directed to mail a copy of this order to the Defendant at his last

           known address.

     DATED this 12th day of July, 2012.

                                               BY THE COURT:


                                               s/Laurie Smith Camp
                                               Chief United States District Judge




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